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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF SOUTH CAROLINA


 Mr. Byron Lyons,                            )         C/A #: 0:19-cv-02140-HMH-PJG
                                             )
        Plaintiff,                           )
                                             )
 v.                                          )      ORDER GRANTING MOTION TO
                                             )              COMPEL
 Anthony Dennis; Cpt. Adrea Blanding;        )
 Bernard Williams; Major McGainy; Sgt.       )
 Richardson; Sgt. Tomlin; Sgt. Evans,        )
                                             )
      Defendants.                            )
 _________________________________           )

        This matter is before the Court on Defendant Williams Motion to Compel (ECF # 92)
records related to an investigation of the matter at the heart of this litigation. The remaining
Defendants, in both their individual and official capacities, responded to the motion to compel
admitting that the documents are relevant but asserting that they cannot be released without a
court order pursuant to the Prison Rape Elimination Act and HIPPA. They do not object to the
release of the records or to the issuance of a court order directing such. No objections have been
made in response to the motion to compel.

       Therefore, the Court finds that the requested documents are relevant to the case and that a
court order for their production is appropriate. For those reasons, the motion to compel is
GRANTED.

         IT IS SO ORDERED.



                                             __________________________________________
June 8, 2021                                 Paige J. Gossett
Columbia, South Carolina                     UNITED STATES MAGISTRATE JUDGE
